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 January 25, 2025


 Judge Claudia Wilken


 United States District Court
                                                                                         OAKLAND OFRCE
 Northern District of California



 Re: In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.)


 Dear Judge Wilken,


 My name is Kiersten Lee. 1 am a graduate from Stanford University class of 2024.1 played on
 the Stanford football team for four seasons, from 2020- 2024.1 am submitting this objection to
 the "Settlement Football and Men's Basketball Class" definition in the proposed settlement of
 the above-referenced litigation, which limits membership only to full Grant-in-Aid ("GIA")
 scholarship athletes.


 For all 4 seasons of my time there, Stanford was a member of the PAC-12. During my last
 season, Stanford was a member of the Atlantic Coast Conference. Thus, 1 played in a Power Five
 conference my entire career at Stanford.


 Out of highschool 1 was a highly recruited prospect. However, Stanford, which was a dream
 school of mine for as long as 1 can remember was a school that 1 had never communicated with.
-My senior year of High School 1 reached out to the coaching staff and submitted my filnt They-
 reached out to me immediately and let me know that they would love for me to choose to come
 play football at Stanford, but because of how late in the game 1 came on their radar that there
 were no more scholarship offers available in my recruiting class. So, 1 was offered and accepted
 a Preferred Walk-On("PWO")position at Stanford. As a recruited PWO,1 did not have to try out
 for the team. 1 was treated the same as any GIA player, except that I did not receive the same
 financial benefits as a GIA player. 1 was a full member of the team, subject to the same
 regulations and expectations as GIA players. 1 was held to the same athletic and academic
 standards as all GIA players, including full 12 months-a-year participation in all football
 practices, lifts, trainings, meetings, and activities. As a walk-on, I was required to participate in
 and attend every single team related event for 4 years straight. 1 put literal blood, sweat, and tears
 into those four years of rigorous academic and athletic obligations while still working a
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consistent job to stay afloat financially. This ruling is especially heartbreaking to myself and
those in shoes similar to mine.



During each of my four seasons, I was an active roster participant in Fall Camp, a time of year
when the roster number is limited per NCAA Bylaw 17.11.3.1.2.1 was named to the Pac-12
Academic Honor Roll twice.



As a full member of the Stanford football team, 1 propose that players in my position should be
added to the definition of the "Settlement Football and Men's Basketball Class." My NIL was
used on broadcast television and other media. My NIL was used in the video game "College
Football 24" produced by EA Sports featuring Stanford players. During my time at Stanford,I
was not getting a free education like GIA players, but my NIL was used along with GIA players
to promote the football team during broadcasts in the 27 games in which I played. I believe it is
only fair and reasonable that players like myself be eligible for broadcast NIL payments and not
be treated differently than GIA players, particularly when some of them may have played less on
the field than I did.



It is not fair that athletic scholarship status alone determines that one player's NIL on the field is
worth significant broadcast compensation, whereas the teammate alongside him in the same
game is worth nothing. I request that the definition of the "Settlement Football and Men's
Basketball Class" include all Power 5 athletes who actively participated and contributed to their
teams. An easily verifiable measure, such as participation on a roster during Fall Camp or games
played/snap count, would fairly include all athletes who contributed to the broadcast revenue.


If permitted, I would like to speak at the upcoming hearing. 1 am willing to appear in person or
via Zoom.



Respectfully submitted,


Kiersten Lee



NCAA Eligibility Center ID: 1901408784
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